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Attorneys for Plaintiff John Rogers,

on behalf of himself and all others similarly situated

SUPERIOR COURT OF THE STATE OF CALIFORNIA

FOR THE COUNTY OF SAN FRANCISCO

JOHN ROGERS, on behalf of himself and all
others similarly situated,

Plaintiff,

LYFT, INC.,

Defendant

 

Case No. 3:20-cv-01938

PROPOSED ORDER ON PLAINTIFF’S
EMERGENCY MOTION FOR
PRELIMINARY INJUNCTION

Complaint Filed: March 12, 2020
Trial Date: None Set

Having considered Plaintiff's Emergency Motion for Preliminary Injunction, all other

papers submitted and related oral argument, regarding the Motion, the Court hereby ORDERS

that the Plaintiff's Motion is GRANTED.

IT IS HEREBY ORDERED THAT:

 
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1. During the pendency of this action, Lyft is enjoined and restrained from failing to comply;
with California law in classifying its drivers in California as independent contractors and
not providing them the benefits they are entitled under California law, including paid sick!

leave, provided by Cal. Lab. Code § 246.

This injunction shall be effective as of the date issued and shall remain in effect through and
including a final decision on the merits in this this matter, or other such disposition upon further

order of this Court.

 

U.S. District Court, Northern District of California

 
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